                                                                         Page 1 of 2
Case 1:18-cv-05775-ERK-TAM Document 108-8 Filed 08/21/23 Page 1 of 2 PageID #: 1106


From:                                         Jamie Felsen
Sent:                                          Tuesday, September 20, 2022 8:13 AM
To:                                           Fitzgerald, Maureen P.
Cc:                                           Jeremy Koufakis
Subject:                                      RE: Voynow - NODs

Maureen,

I never received a response to the below email:

Plaintiffs supplement document demand no. 6 in their first request for documents to demand, for any period of
time (not limited to period since 2010 as initially requested), all engagement letters or other documents
concerning any agreement for scope of services between plaintiffs and defendants.

______________________________
Jamie S. Felsen - Partner
Milman Labuda Law Group PLLC
3000 Marcus Ave., Suite 3W8
Lake Success, NY 11042
Telephone (516) 328-8899
Fax (516) 328-0082

This information contained in this message is intended only for the personal and confidential use of the recipient
(s) named above. This message may be an attorney-client communication, and as such, is privileged and
confidential. If the reader of this message is not the intended recipient, you are hereby notified that you have
received this message and the enclosed documents in error and that any review, dissemination, distribution or
copying of this message is strictly prohibited. If you have received this communication in error, please notify me
immediately. Thank you.


From: Jamie Felsen
Sent: Thursday, September 1, 2022 2:55 PM
To: Fitzgerald, Maureen P. <MPFitzgerald@mdwcg.com>
Cc: Jeremy Koufakis <jeremy@mmmlaborlaw.com>
Subject: RE: Voynow - NODs

Maureen,

I am following up on the below email.

______________________________
Jamie S. Felsen - Partner
Milman Labuda Law Group PLLC
3000 Marcus Ave., Suite 3W8
Lake Success, NY 11042
Telephone (516) 328-8899
Fax (516) 328-0082

This information contained in this message is intended only for the personal and confidential use of the recipient
(s) named above. This message may be an attorney-client communication, and as such, is privileged and
confidential. If the reader of this message is not the intended recipient, you are hereby notified that you have
received this message and the enclosed documents in error and that any review, dissemination, distribution or
copying of this message is strictly prohibited. If you have received this communication in error, please notify me
immediately. Thank you.
                                                                         Page 2 of 2
Case 1:18-cv-05775-ERK-TAM Document 108-8 Filed 08/21/23 Page 2 of 2 PageID #: 1107


From: Jamie Felsen
Sent: Tuesday, August 9, 2022 5:10 PM
To: Fitzgerald, Maureen P. <MPFitzgerald@mdwcg.com <mailto:MPFitzgerald@mdwcg.com>>
Cc: Jeremy Koufakis <jeremy@mmmlaborlaw.com <mailto:jeremy@mmmlaborlaw.com>>
Subject: Re: Voynow - NODs

Maureen,

Plaintiffs supplement document demand no. 6 in their first request for documents to demand, for any period of
time (not limited to period since 2010 as initially requested), all engagement letters or other documents
concerning any agreement for scope of services between plaintiffs and defendants.


      On Aug 9, 2022, at 2:21 PM, Fitzgerald, Maureen P. <MPFitzgerald@mdwcg.com
      <mailto:MPFitzgerald@mdwcg.com>> wrote:


      Please see attached.
